Case 1:09-md-02036-.]LK Document 1681 Entered on FLSD Docket 07/05/2011 Page 1 of 5

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 09-MD-02036-JLK

 

IN RE: CHECKING ACCOUNT
OVERDRAFT LITIGATION

MDL No. 2036

 

 

THIS DOCUMENT RELATES TO:
FIRST TRANCHE ACTION

Larsen v. Union Bank, N.A.
S.D. Fla. Case No. l:O9-cv-23235-JLK
N.D. Cal. Case No. 4:09-3250

 

 

PLAINTIFFS’ NOTICE ()F FILING REPLY IN SUPPORT OF MOTION
FOR CLASS CERTIFICATION AND REOUEST FOR ORAL ARGUMEN'I`

Plaintiffs notify the Court, and all parties in this multidistrict litigation
proceeding, of today’s filing of Plaintiffs’ Reply in Support of Motion for Class
Certification in the above-captioned case, together With an accompanying Appendix
containing Reply Exhibits 85 ~ 99, and Plaintiffs’ Reply in Support of Proposed Trial
Plan for Trial of Class Claims. These papers have been temporarily filed under seal
pursuant to the Stipulated Protective Order [DE # 688].

Plaintiffs’ Motion for Class Certiflcation in this case is now fully briefed and
ready for oral argument Pursuant to S.D. Local Rule 7.l(b)(l), Plaintiffs respectfully
request that oral argument be scheduled at the Court’s earliest convenience Plaintit`fs

estimate that one-half day Will be sufficient for oral argument

Case 1:09-md-02036-.]LK Document 1681 Entered on FLSD Docket 07/05/2011 Page 2 of 5

Dated: July 5, 2011.

/s/ 'Aaron S. Podhurst

Aaron S. Podhurst, Esquire
Florida Bar No. 063 606
apodhurst@podhurst.com
Robert C. Josefsberg, Esquire
Florida Bar No. 40856
riosefsber;z@nodhurst.com
Peter Prieto, Esquire

Florida Bar No. 50l492
pprieto@podhurst.com
Stephen F. Rosenthal, Esquire
Florida Bar No. 0131458
srosenthal@nodhurst.com
John Gravante, III, Esquire
Florida Bar No. 6l7113
igravante@podhurst.com
PGDHURST ORSECK, P.A.
City National Banl< Building
25 W. Flagler Street, Suite 800
Miarni, FL 33130-1780

Tel: 305-358-2800

Fax: 305-358-2382

Respectfully submitted,

/s/ Bruce S. Rogovv
Bruce S. Rogow, Esquire

Florida Bar No. 067999
brogow@rogowlaw.com
Jererny W. Alters, Esquire
Florida Bar No. 0111790
jeremy@alterslaw.corn
ALTERS LAW FlRl\/l, P.A.
4l4l N.E. 2nd Avenue
Suite 201

l\/liami, FL 33137

Tel: 305-571~8550

Fax: 305~571-8558

Co-Lead Counselfor Plaz'nti]j€s'

/s/ Robert C. Gilbert

Robert C. Gilbert, Esquire
Florida Ba.r No. 561861
rcg@g;ossmanroth.corn
Stuart Z. Grossman, Esquire
Florida Bar No. 156113
szg@grossmanroth.com
David M. Bucl<ner, Esquire
Florida Bar No. 60550
dbu@grossmanroth.com
Seth E. Miles, Esquire
Florida Bar No. 3855830
sem@grossmanroth.com
GROSSl\/IAN ROTH, P.A.
2525 Ponce de Leon Boulevard
Eleventh Floor

Coral Gables, FL 33134
Tel: 305-442~8666

Fax: 305-779-9596

Coordz'natz'ng Counselfor Plaz`nz‘z'fjfv

/s/ E. Adam Webb

E. Adam Webb, Esquire
Georgia Bar No. 743910
Adam@WebbLLC.com
Matthew C. Klase, Esquire
Georgia Bar No. 141903
Matt@WebbLLC.com

G. Franklin Lemond, Jr., Esquire
Georgia Bar No. 141315
FLemond@WebbLLC.com

WEBB, KLASE & LEl\/IOND, L.L.C.

1900 The Exchange, S.E.
Suite 480

Atlanta, GA 30339

Tel: 770-444-9325

Fax: 770-444-0271

Case 1:09-md-02036-.]LK Document 1681 Entered on FLSD Docket 07/05/2011 Page 3 of 5

/s/ Michael W. Sobol

Michael W. Sobol, Esquire

California Bar No. 194857

msobol@lchb.com

Roger N. Heller, Esquire

California Bar No. 215348

rheller@lchb.com

Jordan Elias, Esquire

California Bar No. 228731

jelias@lchb.com

LIEFF CABRASER HEIMANN &
BERNSTEIN L.L.P.

Embarcadero Center West

275 Battery Street, 30th Floor

San Francisco, CA 9411 1

Tel: 415-956-1000

Fax: 415-956-1008

Case 1:09-md-02036-.]LK Document 1681

/s/ Russell W. Budd
Russell W. Budd, Esquire
Texas Bar No. 03312400
rbudd@baronbudd.com
Mazin A. Sbaiti, Esquire
Texas Bar No. 2405 8096
msbaiti@baronbudd.com
BARON & BUDD, P.C.
3102 Oak Lawn Avenue
Suite 1100

Dallas, TX 75219

Tel: 214~521-3605

Fax: 214-520-1181

/s/ Ruben Honjl<

Ruben Honik, Esquire
Pennsylvania Bar No. 33109
rhonik@golombhonik.com
Kenneth J. Grunfeld, Esquire
Pennsylvania Bar No. 84121
kgrunfeld@golombhonik.com
GOLOMB & HONIK, P.C.
15 15 Market Street

Suite 1100

Philadelphia, PA 19102
Te1:215-985-9177

Fax: 215-985-4169

Entered on FLSD Docket 07/05/2011 Page 4 of 5

/s/ David S. Stellings
David S. Stellings, Esquire

NeW York Bar No. 2635282

dstellin s lchb.com

LIEFF CABRASER HEIl\/IANN &
BERNSTEIN L.L.P.

250 Hudson Street

8th Floor

Nevv Yorl<, NY 10013

Tel: 212-355-9500

Fax: 212-355-9592

/s/ Ted E. Trief

Ted E. Trief, Esquire

Nevv Yorl< Bar No. 1476662
ttrief@triefandolk.com
Barbara E. Olk, Esquire
New York Bar No. 1459643
boll<@triefandolk.com
TRIEF & OLK

150 E. 58th Street

34th Floor

New York, NY 10155

Tel: 212-486-6060

Fax: 212-317~2946

Plaim‘z'jjfs' ’ Executive Commitz‘ee

Case 1:09-md-02036-.]LK Document 1681 Entered on FLSD Docket 07/05/2011 Page 5 of 5

UNITED STATES DISTRIC'I` COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 09-MD-02036-JLK

 

IN RE: CHECKING ACCOUNT
OVERDRAFT LITIGATION

MDL No. 2036

 

 

CERTIFICATE OF SERVICE

1 hereby certify that on July 5, 2011, 1 electronically filed the foregoing document

With the Clerk of the Court using Cl\/l/ECF. l also certify that the foregoing document is

being served this day on all counsel of record or pro se parties identified on the attached

Service List in the manner specified, either via transmission of Notices of Electronic

Filing generated by CM/ECF or in some other authorized manner for those counsel or

parties Who are not authorized to receive electronically Notices of Electronic Filing.

/s/ Robert C. Gilbert

Robert C. Gilbert, Esquire
Florida Bar No. 561861
GROSSl\/IAN ROTH, P.A.
2525 Ponce de Leon Boulevard
Eleventh Floor

Coral Gables, FL 33134

Tel: 305-442-8666

Fax: 305-779-9596

